                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR05-3005-LRR
 vs.                                                      REPORT AND
                                                       RECOMMENDATION
 JULIE GREIMANN,
                                                   CONCERNING PLEA OF GUILTY
               Defendant.
                                     ____________________


        On April 19, 2005, the above-named defendant, by consent, appeared before the
undersigned    United       States    Magistrate   Judge    pursuant   to   Federal   Rule
of Criminal Procedure 11, and entered pleas of guilty to Counts One and Six of the
Superseding Indictment. After cautioning and examining the defendant under oath
concerning each of the subjects mentioned in Rule 11, the court determined that the guilty
pleas were knowledgeable and voluntary, and the offenses charged were supported by an
independent basis in fact containing each of the essential elements of the offenses. The
court therefore RECOMMENDS that the pleas of guilty be accepted and the defendant
be adjudged guilty.
        At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.           She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.
        The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated her full name, her age, and the extent of




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her schooling. The court inquired into the defendant’s history of mental illness and
addiction to narcotic drugs. The court further inquired into whether the defendant was
under the influence of any drug, medication, or alcoholic beverage at the time of the plea
hearing. From this inquiry, the court determined that the defendant was not suffering
from any mental disability that would impair her ability to make knowing, intelligent, and
voluntary pleas of guilty to the charges.
      The defendant acknowledged that she had received a copy of the Superseding
Indictment, and she had fully discussed these charges with her attorney.
      The court determined that there was no plea agreement.
      The defendant was advised that any sentencing recommendation by the
Government, or any agreement not to oppose a particular sentence, would not be binding
on the court, and the defendant would have no right to withdraw her pleas if such a
recommendation or request were not accepted by the court. The defendant was advised
also that after her pleas were accepted, she would have no right to withdraw the pleas at
a later date, even if the sentence imposed was different from what the defendant or her
counsel anticipated.
      The court then summarized the charges against the defendant, and listed the
elements of the crimes. The court determined that the defendant understood each and
every element of the crimes, ascertained that her counsel had explained each and every
element of the crimes fully to her, and the defendant’s counsel confirmed that the
defendant understood each and every element of the crimes charged.
      The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Superseding Indictment to which the defendant was
pleading guilty.



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       The court advised the defendant of the consequences of her pleas, including, for
each Count, the maximum fine, the maximum term of imprisonment, and the mandatory
minimum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is
$4,000,000; the maximum term of imprisonment is life; the mandatory minimum term of
imprisonment is 10 years; the maximum period of supervised release is life; and the
minimum period of supervised release is five years.
       With respect to Count Six, the defendant was advised that the maximum fine is
$2,000,000; the maximum term of imprisonment is 40 years; the mandatory minimum
term of imprisonment is five years; the maximum period of supervised release is life; and
the minimum period of supervised release is four years.
       The defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $200.00, which the defendant must
pay. The defendant also was advised of the collateral consequences of a plea of guilty.
The defendant acknowledged that she understood all of the above consequences.
       The court then explained supervised release to the defendant, and advised her that
a term of supervised release would be imposed in addition to the sentence of
imprisonment. The defendant was advised that among other conditions of supervised
release, she could not commit another federal, State, or local crime while on supervised
release, and she could not possess illegal controlled substances while on supervised
release. The defendant was advised that there are other standard conditions of supervised
release, and the court could impose additional special conditions. The defendant was
advised that if she were found to have violated a condition of supervised release, then her
term of supervised release could be revoked and she could be required to serve in prison



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all or part of the term of supervised release without credit for time previously served on
supervised release.
       The court also explained to the defendant that the district judge would determine
the appropriate sentence for her at the sentencing hearing. The defendant confirmed that
she understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that she understood the sentence imposed might
be different from what her attorney had estimated. The defendant also was advised that
both she and the Government would have the right to appeal the sentence. The defendant
was advised that parole has been abolished.
       The defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The defendant’s attorney indicated the attorney had had full
access to the Government’s discovery materials, and they supported a factual basis for
the pleas.
       The defendant then was advised fully of her right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have her case tried by a jury selected from a cross-section of
              the community;
       4.     That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine these
              witnesses;

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      6.     That the defendant would have the right to see and hear all witnesses
             presented at trial;
      7.     That the defendant would have the right to subpoena defense witnesses to
             testify at the trial, and if she could not afford to pay the mileage and other
             fees to require the attendance of these witnesses, then the Government
             would be required to pay those costs;
      8.     That the defendant would have the privilege against self incrimination; i.e.,
             she could choose to testify at trial, but she need not do so, and if she chose
             not to testify, then the court would, if the defendant requested, instruct the
             jury that the defendant had a constitutional right not to testify;
      9.     That any verdict by the jury would have to be unanimous;
      10.    That she would have the right to appeal, and if she could not afford an
             attorney for the appeal, then the Government would pay the costs of an
             attorney to prepare the appeal.
      The defendant also was advised of the rights she would waive by entering a plea
of guilty. The defendant was told there would be no trial, she would waive all the trial
rights just described, and she would be adjudged guilty without any further proceedings
except for sentencing.
      The defendant then confirmed that her decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises; no one had
promised her what the sentence would be; and her decision to plead guilty was not the
result of any threats, force, or anyone pressuring her to plead guilty.
      The defendant then confirmed that she still wished to plead guilty, and she pleaded
guilty to Counts One and Six of the Superseding Indictment
      The court finds the following with respect to the defendant’s guilty plea:
      1.     The guilty plea is voluntary, knowing, not the result of force, threats or
             promises, and the defendant is fully competent.
      2.     The defendant is aware of the maximum punishment.

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      3.     The defendant knows her jury rights.
      4.     The defendant has voluntarily waived her jury rights.
      5.     There is a factual basis for the plea.
      6.     The defendant is, in fact, guilty of the crimes to which she is pleading
             guilty.
      The defendant has executed a Consent to the Court’s Inspection of Presentence
Report Prior to Guilty Plea. The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant
was asked to provide the information requested by the U.S. Probation Office to prepare
the presentence investigation report. The defendant was told that she and her counsel
would have an opportunity to read the presentence report before the sentencing hearing
and to object to the contents of the report, and she and her counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 10 days of the date of its service would bar her from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s pleas of guilty. A copy of this Report
and Recommendation was served on the defendant and her attorney at the conclusion of
the proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 19th day of April, 2005.




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                               PAUL A. ZOSS
                               MAGISTRATE JUDGE
                               UNITED STATES DISTRICT COURT




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